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                                  2                                          UNITED STATES DISTRICT COURT
                                  3                                      NORTHERN DISTRICT OF CALIFORNIA
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                                  6    CALIFORNIA COALITION FOR WOMEN                       Case No.: 4:23-cv-4155-YGR
                                       PRISONERS, ET AL.,
                                  7                                                         ORDER NO. 1 RE SELECTION OF SPECIAL
                                                   Plaintiffs,                              MASTER
                                  8
                                              v.                                            Re: Dkt. Nos. 226, 227, 229, 231
                                  9
                                       UNITED STATES, ET AL.,
                                  10
                                                    Defendants.
                                  11
                                                             TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
Northern District of California




                                  12
 United States District Court




                                              The Court is in receipt of the parties’ recommendations for a special master as required
                                  13
                                       under 18 U.S.C. § 3626(f)(2)(A). (Dkt. Nos. 228 and 230.) To promote efficiencies and to obtain
                                  14
                                       additional information to inform the selection process, the Court orders as follows:
                                  15
                                              1.        The parties shall exercise their right “to remove up to 3 persons from the opposing
                                  16
                                                        party’s list” and shall do so in writing by no later than 10:00 a.m. on Wednesday,
                                  17
                                                        March 27, 2027. See 18 U.S.C. § 3626(f)(2)(B). The submissions shall merely
                                  18
                                                        identify the names the parties wish to strike. No further explanation is required. In
                                  19
                                                        light of this approach, the hearing is vacated.
                                  20
                                              2.        For the two persons remaining on each party’s list, the proponent shall provide the
                                  21
                                                        applicants with a copy of the following:
                                  22
                                                        a.       The Stipulated Protective Order, the acknowledgment and agreement of
                                  23
                                                                 which must be signed (Dkt. 201) in order for non-public documents to be
                                  24
                                                                 received;
                                  25
                                                        b.       The Court’s Order Granting the Motion for Class Certification; Granting in
                                  26
                                                                 part and Denying in part the Motion for Preliminary Injunction (Dkt. No.
                                  27
                                                                 222);
                                  28
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                                  1                 c.      March 2022 Dublin Task Force Report; and
                                  2                 d.      The Moss Group, Assessment Report, Building Culture of Safety Report.
                                  3          3.     Applicants shall provide the Court with an initial assessment, including their
                                  4                 suggested approach, based on their experience and those readings by Monday, April
                                  5                 1, 2024, at 12:00 p.m. PT. The Court understands that the applicants will have
                                  6                 limited information. The submissions should be sent to
                                  7                 ygrchambers@cand.uscourts.gov with all parties copied.
                                  8          4.     The Court will conduct non-public interviews beginning at 10:00 a.m. PT on
                                  9                 Tuesday, April 2, 2024, over Zoom. A link will be provided separately.
                                  10         5.     The interviews will each last an hour starting at 10:00 a.m. The order of call shall be
                                  11                chosen randomly and alternate between the parties’ recommendations. The parties
                                  12                shall be provided with the order of call once the list is reduced to four.
Northern District of California
 United States District Court




                                  13         6.     The Court may allow one lawyer from each side to ask limited follow-up questions.
                                  14                The lawyer each party wishes to attend shall be identified as part of the filing due
                                  15                under paragraph one above.
                                  16         7.     The motions to seal at Docket Nos. 229 and 231 are GRANTED. The motion for
                                  17                remote appearance at Docket No. 227 is DENIED as moot. The motion for
                                  18                clarification at Docket No. 226 is GRANTED having conferred with the parties last
                                  19                week.
                                  20         This terminates Dkt. Nos. 226, 227, 229, and 231.
                                  21         IT IS SO ORDERED.
                                  22   Date: March 26, 2024                           _______________________________________
                                                                                              YVONNE GONZALEZ ROGERS
                                  23                                                     UNITED STATES DISTRICT COURT JUDGE
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